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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. DURBIN II2024 OK 24Case Number: SCBD-7528Decided: 04/08/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 24, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
RONALD EDWARD DURBIN, II, Respondent.



ORDER OF EMERGENCY INTERIM SUSPENSION



¶1 On July 21, 2023, Complainant, the Oklahoma Bar Association (OBA), filed a verified complaint against Respondent Ronald Edward Durbin, II, pursuant to Rule 6 of the Rules Governing Disciplinary Proceedings (RGDP) 5 O.S.2011, ch. 1, app. 1-A. On March 3, 2024, Complainant filed an amended complaint and verified application for an order for an order of emergency interim suspension pursuant to Rules 6 and 6.2A of the Rules Governing Disciplinary Proceedings 5 O.S.2011, ch. 1, app 1-A. With the concurrence of the Professional Responsibility Commission, the OBA requests an emergency interim suspension of Respondent from the practice of law pursuant to Rule 6.2A of the RGDP.

¶2 In support, the OBA reports that it has received sufficient evidence demonstrating Respondent has committed conduct in violation of Rules 1.1, 1.3, 1.4, 1.5, 1.6, 1.7, 1.8, 1.9. 1.15, 1.16(d), 3.1, 3.2, 3.3, 3.4, 3.5, 3.6, 4.1, 4.3, 4.4(a), 8.1(b), 8.2(a), and 8.4(a)(b)(c) and (d) of the Oklahoma Rules of Professional Conduct (ORPC), and Rules 1.3, 5.2, and 5.4 of the Rules Governing Disciplinary Proceedings, and that the conduct poses an immediate threat of substantial and irreparable public harm.

¶3 The Complainant alleges it has conducted an extensive review of Respondent's court filings, pleadings, and statements made in open Court. These include matters wherein the Respondent is representing himself and wherein he is acting as an attorney for third parties.

¶4 Complainant submits Respondent continues to assert reckless, malicious, and dishonest statements in his "Facebook Live" broadcast sessions that are posted online and publically accessible. According to the OBA grievances, during these broadcasts the Respondent disparages judges, the judiciary, opposing counsel, the OBA, and anyone with opposing views.

¶5 Complainant further submits that Respondent made disparaging remarks and was disrespectful to police officers, state and county officials, and city employees. He regularly disrupts the peace when he attempts to retrieve public records pursuant to the Open Records Act. He also threatens state employees that they will be arrested if they do not immediately comply with his open records requests and has even caused an office to be on lock down because he caused such a scene that the police had to be called. Respondent's conduct has been repeatedly reported on by the media, including his profanity-laced disparaging remarks about judges, the judiciary, and opposing counsel.

¶6 Respondent's false and incendiary attacks on the legal system and judiciary are continuing as evidenced by Complainant's Amended Complaint filed on March 6, 2024, wherein Complainant brought new charges against Respondent for similar and inappropriate behavior in violation of the Oklahoma Rules of Professional Conduct.

¶7 The Court ordered Respondent to show cause, no later than March 1, 2024, why an emergency interim suspension should not be entered. The Court sent a file-stamped copy of the order and verified amended complaint to Respondent's official roster address. Respondent filed an objection on March 4, 2024 wherein Respondent denies all of the allegations alleged. Respondent argues, among other things, that the OBA General Counsel's Office is corrupt or inept, and/or that the OBA cannot support the allegations against him.

¶8 Upon consideration of the verified complaint, verified amended complaint, and application for emergency interim suspension, the Court finds that Respondent has committed conduct in violation of the Oklahoma Rules of Professional Conduct that poses an immediate threat of substantial and irreparable public harm.

¶9 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Respondent, Ronald Edward Durbin, II, is immediately suspended from the practice of law, pursuant to Rule 6.2A of the RGDP.

¶10 FURTHERMORE, Respondent is ordered to give written notices by certified mail, within twenty (20) days from the date of this Order, to all of his clients having legal business pending of his inability to represent them and the necessity for promptly retaining new counsel. If Respondent is a member of, or associated with, a law firm or professional corporation, such notice shall be given to all clients of the firm or professional corporation, which have legal business then pending with respect to which Respondent has substantial responsibility. Respondent shall file a formal withdrawal as counsel in all cases pending in any tribunal. Respondent must file, within twenty (20) days from the date of this Order, an affidavit with the Commission and the Clerk of the Supreme Court stating that he has complied with this Order, together with a list of the clients so notified and a list of all other State and Federal courts and administrative agencies before which Respondent is admitted to practice. Proof of substantial compliance by Respondent with this Order shall be a condition precedent to any petition for reinstatement.

¶11 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on April 8, 2024.

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/S/ACTING CHIEF JUSTICE


ALL JUSTICES CONCUR.






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